                                          Case 5:20-cv-06542-LHK Document 20 Filed 03/25/21 Page 1 of 2




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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12     SCOTT JOHNSON,                                      Case No. 20-CV-06542-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiff,                           ORDER GRANTING STIPULATION
                                                                                             TO DISMISS CLAIMS
                                  14             v.

                                  15     UMBARGER LLC,
                                  16                    Defendant.

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                                  18          Plaintiff Scott Johnson filed this action alleging violations of the Americans with

                                  19   Disabilities Act and Unruh Civil Rights Act against Defendant Umbarger LLC. ECF No. 1. On

                                  20   March 24, 2021, the parties filed a stipulation stating that Plaintiff’s claim under the Americans

                                  21   with Disabilities Act is now moot, and therefore the parties request that the Court dismiss that

                                  22   claim with prejudice. ECF No. 19. The Court hereby GRANTS the parties’ request to dismiss

                                  23   Plaintiff’s Americans with Disabilities Act claim with prejudice.

                                  24          The parties also request that the Court decline supplemental jurisdiction over Plaintiff’s

                                  25   state Unruh Civil Rights Act claim. Id. at 1. The Court hereby declines supplemental jurisdiction

                                  26   over Plaintiff’s Unruh Civil Rights Act claim and dismisses that claim without prejudice.

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                                       Case No. 20-CV-06542-LHK
                                       ORDER GRANTING STIPULATION TO DISMISS CLAIMS
                                          Case 5:20-cv-06542-LHK Document 20 Filed 03/25/21 Page 2 of 2




                                   1   IT IS SO ORDERED.

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                                   3   Dated: March 25, 2021

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                                                                              LUCY H. KOH
                                   5                                          United States District Judge
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Northern District of California
 United States District Court




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                                       Case No. 20-CV-06542-LHK
                                       ORDER GRANTING STIPULATION TO DISMISS CLAIMS
